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10
11                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
12
13   RJ, as the representative of her beneficiary son,   Case No.: 4:20-CV-02255-EJD
     SJ, LW as the representative of her beneficiary
14   spouse, MW; and, DS an individual, on behalf        PLAINTIFFS’ RESPONSE IN
     of and all other similarly situated,                OPPOSITION TO MULTIPLAN INC.’S
15                                                       MOTION TO DISMISS
16                  Plaintiff,
                                                          Complaint Filed: April 2, 2020
17          vs.                                           FAC Filed:       April 30, 2021
                                                          Trial Date:      None Set
18   CIGNA BEHAVIORAL HEALTH, INC., and
19   MULTIPLAN, INC.,                                     Hearing Date:   August 12, 2021
                                                          Hearing Time:   9:00 a.m.
20                  Defendants.                           Courtroom:      4-5th Floor
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 1                            STATEMENT OF ISSUES TO BE DECIDED
 2          The issues to be decided by the Court are whether Plaintiffs:
 3      1. have plausibly alleged causes of action under RICO 18 U.S.C. § 1962(c) and (d) against
 4          MultiPlan;
 5      2. whether Plaintiffs have stated a claim against MultiPlan under ERISA, 29 U.S.C. §
 6          1132(a)(3);
 7      3. whether Plaintiffs have pled their claims with the particularity required under Fed. R. Civ. P.
 8          9(b) when required to do so; and,
 9      4. whether Plaintiffs claims not subject to Fed. R. Civ. P. 9(b) are properly pled under Fed. R.
10          Civ. P. 8(a).
11                           PLAINTIFF’S POINTS AND AUTHORITIES
12          A. Introduction.
13          Plaintiffs’ First Amended Complaint (“FAC”) concerns a fraud created by Cigna and
14   Multiplan to underpay certain types of healthcare claims. Cigna and MultiPlan fraudulently portray
15   the underpayments as representative of prevailing market rates (FAC ¶¶15-20). They are not. The
16   underpayments equate to a fraction of the prevailing usual, customary, and reasonable market rates
17   for the healthcare services received by Plaintiffs. This scheme has enriched Cigna and Multiplan at
18   the expense of patients who are left on the hook to make up the difference between their healthcare
19   providers’ charges and these low payments. (FAC ¶59). This scheme has been ongoing since at least
20   2015 (FAC ¶30).
21         MultiPlan’s assertion that “despite more than 70 pages and nearly 500 paragraphs of
22   allegations, the FAC is completely bereft of any of the details this Court found missing from
23   Plaintiffs’ initial Class Action Complaint” (Def. Mot. p 1) is little more than puffery as in LD v.
24   United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566 (N.D. Cal. Dec. 18, 2020) &
25   2021 WL 930624 (N.D. Cal. Mar. 11, 2021), Judge Gonzalez-Rogers found a similar complaint with
26   similar allegations against United Behavioral Health and MultiPlan brought by similar Plaintiffs
27   properly alleged claims against both United and MultiPlan under RICO 18 U.S.C. § 1962(c) and (d)
28   and ERISA, 29 U.S.C. § 1132(a)(3) properly alleged.


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 1          B. Plaintiffs’ RICO §§ 1962(c)&(d) Claims Should Not Be Dismissed.
 2            1.    Plaintiffs’ RICO Claims of Mail and Wire Fraud Satisfy the Pleading Requirements
 3                  of Rule 9(b)
 4          Rule 9(b) does not require a plaintiff to be omniscient or to provide every conceivable detail.
 5   Rather, “[a] pleading is sufficient under Rule 9(b) if it identifies the circumstances constituting fraud
 6   so that the defendant can prepare an adequate answer from the allegations.” Neubronner v. Milken, 6
 7   F.3d 666, 671–72 (9th Cir. 1993) (internal quotations and citations omitted). This standard is met.
 8   Much of Defendant’s attack on the fraud claims is predicated on fundamentally misunderstanding the
 9   fraud alleged in Plaintiffs’ Complaint. The Complaint goes into great detail identifying the dates,
10   content, and other information of the misrepresentations made to Plaintiffs by Defendants in addition
11   to the activity that directed and implemented the illegal Viant methodology, including the names of
12   employees of Defendants that Plaintiffs have been able to discover thus far. Defendants know exactly
13   the factual basis for the fraud causes of action asserted against them and those causes of action are
14   factually and legally supported by the allegations in the Complaint.
15          Many of the same arguments made by Multiplan are those raised by Cigna (ECF 76) and
16   Plaintiffs reassert their responses to them as if they were set forth herein. Multiplan’s argument that
17   Plaintiffs FAC is “devoid of specific factual details” (Def. Mot. p 6) demonstrate a failure to have
18   actually processed the FAC. Plaintiffs’ allegations are more than sufficient to enable Multiplan to
19   prepare their answer and defense. Neubronner 6 F.3d at 672. Multiplan’s actions are specifically
20   addressed in the following:
21          Plaintiffs name specific individuals from Multiplan that participated in the fraud:
22      Susan Mohler, Multiplan’s Vice President of Marketing, and Dale White, the Executive Vice
23      President of Sales, Bruce Singleton, Senior Vice President of Network Strategy Network and
        Michael McEttrick, the Vice President Healthcare Economics. (FAC ¶ 242)
24
        Sandy Slovack, Monica Armstrong, Kevin Williams, Angela Robarge, Susan Mohler and
25      Dale White (FAC ¶ 255)
26
27
            Plaintiffs have asserted what these actors did:
28


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 1      At these events, Cigna and MultiPlan and Multiplan’s other customers would come together,
        at various locations around the country, to discuss, among other topics, the Viant repricing
 2      scheme and how to make more money off it. These secret meetings established a forum for
 3      Cigna and others to engage in Enterprises with MultiPlan to suppress the rates paid to
        healthcare providers. During these events, MultiPlan presented slide shows outlining the
 4      profits or “savings” that could made using Viant methodology. (FAC ¶¶ 243-5).
 5      The CAB emphasized the “liability shield” provided by Viant methodology and the ability
 6      of the insurer to direct underpayments from behind the fig leaf. The CAB emphasized that
        Multiplan’s healthcare repricing tools were unregulated.(FAC ¶ 248-9)
 7
        The Whitepapers explain that Cigna would set performance standards which were defined
 8      by Target Prices. Multiplan would use Viant to derive a price under the Target Price. Cigna
        would pay Multiplan a percentage of the “savings” generated by use of the Viant
 9
        methodology. The Whitepapers also explain that Cigna could represent “savings” to its
10      customers that were not the actual amounts it paid the healthcare services at. (FAC ¶ 263)

11          Plaintiffs’ have also alleged specific content:
12      Multiplan emphasized to Cigna at these meetings that if they were ever subject to pushback
13      or scrutiny about their UCR rates, they needed only to point to the unregulated Viant
        methodology and assert that they relied on Viant’s use of mysterious “objective” and “data-
14      backed” pricing methodology, the details of which, of course, were never revealed. Strategies
        were discussed for how to handle situations where dissatisfied providers, such as the
15      Plaintiffs in this case, pushed back or challenged the amount, the Viant methodology and
16      rate was deceitfully presented as a “fair” and “transparent” justification for the
        underpayment. (FAC ¶¶ 252-3)
17
        During the Road Shows and in subsequent interactions, The CAB produced detailed
18      descriptions of Viant’s methodology through internal non-public “Whitepapers” and sought
19      input from Cigna on how it would like its claims routed through the myriad Multiplan
        payment engines, including Viant OPR, to achieve the most profits for Cigna. (FAC ¶¶ 256-
20      7)
21          All of these allegations are in addition to the fact that the patients received PAD letters from

22   Cigna and Multiplan stating that their providers’ billed charges exceeded the UCR and that the

23   patients could owe their providers the difference. Cigna used Multiplan’s Viant methodology in a

24   scheme to underpay Plaintiffs’ claims for Defendants’ benefit. (FAC ¶211). As to the PAD letters,

25   Plaintiffs have specifically alleged:

26      Each Plaintiff received two or more of these letters. This letter has been sent to thousands of
27      to IOP patients insured by Cigna. The letterhead represents both Cigna and MultiPlan’s wholly
        owned and controlled subsidiary Viant. As they jointly appear on the letterhead, this is a strong
28      admission that both Defendants jointly managed the affairs and were co-schemers of the
        Enterprise. These deceptive and fraudulent letters are among the racketeering predicate acts

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 1      committed by the Enterprise. The letter represents that the providers will be paid the ‘maximum
        reimbursable amount allowed under your plan’ if the provider does not agree to Viant’s rate.
 2      The plans require payment be made based on competitive fees in the same geographic area for
 3      both MRC-I and MRC-II plans for IOP treatment. As set out in above, the maximum
        reimbursable rate was never paid to Plaintiffs or their providers. This letter is an admission of
 4      fraud by Cigna and MultiPlan. (FAC ¶¶363-371)
 5          Further, Plaintiffs have identified the predicate acts of racketeering activity: as to RJ & SJ

 6   FAC ¶¶270-302, as to MW and LW FAC ¶¶303-333, as to DS FAC ¶¶ 334-339, as to RH FAC ¶¶

 7   340-358, the fraudulent and deceptive Patient Advocacy Department (“PAD”) letters that crossed

 8   state lines (FAC ¶¶359-378) and has alleged for each of the three Plaintiffs/patients that VOB calls

 9   took place took place between the provider, Summit Estate, and Cigna prior to be admitted to

10   treatment and that claims would be paid based on a percentile of UCR (FAC ¶¶278, 310, 340). In LD,

11   Judge Gonzalez-Rogers held that the VOB communications prior to receiving treatment satisfied the

12   reliance requirement and were pled with the required specificity under Rule 9(b) holding:

13          Although plaintiffs have not averred any other details of these VOB calls, such as the
            names of the persons who participated in such calls or the dates of the calls, the Court
14          finds that plaintiffs have alleged sufficient factual matter as to the circumstances
            constituting fraud so that United “can prepare an adequate answer from the
15
            allegations.” Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1400
16          (9th Cir. 1986) (citation and internal quotation marks omitted). Accordingly, plaintiffs
            have satisfied the element of pattern of racketeering with respect to United.
17
18          LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *14 (N.D.
            Cal. Dec. 18, 2020)
19
            These allegations are more than sufficient to permit Multiplan to prepare an adequate answer
20
     and defense and, as such, the requirements of Rule 9(b) are met.
21
            C. Plaintiffs’ Have Met The Pleading and ‘Plausability’ Requirements Under Rule 8(a)
22
23
            Plaintiffs’ claims are more than plausible as required by Twombly/Iqbal. Plaintiffs have
24
     alleged that the rates paid when Multiplan’s Viant methodology becomes involved are far below the
25
     competitive marketplace price for IOP services in Silicon Valley. It will be plaintiffs’ obligation to
26
     prove that allegation is true, but on a motion to dismiss Plaintiffs need only meet the plausibility
27
     standard set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009).
28


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 1           Plaintiffs have more than plausibly alleged that the Multiplan’s Viant methodology does not
 2   produce UCR in the relevant zip code and, Plaintiffs will prove that that a UCR based on available
 3   data is similar to FAIR Health in at least four ways. The first is economic pricing and payment data
 4   for the area, which is readily and publicly available from FAIR Health, among other sources. Second,
 5   through evidence that Cigna has paid claims at the 80th percentile of FAIR Health in the past and
 6   present under plans with the exact same language as that found in Plaintiffs’ plans.
 7           Indeed, as alleged in the FAC, the named Plaintiffs completed out of network treatment at
 8   higher levels of care provided by the same providers before stepping down to the IOP level of care.
 9   Those higher levels of care – residential treatment and partial hospitalization – were reimbursed by
10   Cigna based on UCR. Id. Third, Cigna’s own website states that it pays out of network claims based
11   on UCR using Fair Health or comparable, usually at the 80th or 70th percentile1. Fourth, Cigna has
12   Administrative Services Agreements with the plan sponsors, in which the plan sponsor elects a certain
13   percentile, which in almost all cases is either the 70th or 80th percentile of UCR, for the
14   reimbursement of OON claims.
15           Multiplan argues that Plaintiffs’ claims fail to meet the Iqbal/Twombly plausibility standards
16   because alleging the Viant methodology is “designed and implemented to hold down excessive health
17   care costs for the benefit of plan sponsors, plan participants, and society as a whole…nothing in
18   Plaintiffs’ recitation of purported meetings between Multiplan and Cigna, or the purported exchange
19   of information in whitepapers and other communications, presents a plausible case of wrongdoing.”
20   (Def Mot. p 8-9) is essentially a restatement of the fraud that Plaintiffs’ seek to redress, not an
21   argument against plausibility.
22           Multiplan provides no “obvious alternative explanation” as to why claims were paid at rates
23   that are a fraction of UCR / FAIR Health, claims paid by Cigna that were not processed using the
24   Viant methodology, and well below SCA’s that were agreed to by these very same Plaintiffs.
25   Multiplan provides no explanation as to why Plaintiffs received PAD letters with Viant on the
26   letterhead that directed Plaintiffs to call Viant at a provided toll-free number. Multiplan provides no
27
     1
28     See https://www.uhc.com/legal/information-on-payment-of-out-of-network-benefits (“Affiliates of UnitedHealth Group
     frequently use the 80th percentile of the FAIR Health Benchmark Databases to calculate how much money to pay for out-
     of-network services of health care professionals . . . .”)

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 1   such alternative explanation because there is none. Plaintiffs have more than plausibly alleged that
 2   the Viant methodology does not produce a UCR in the relevant zip code and, through discovery,
 3   Plaintiffs will prove that that a UCR based on available does in fact mean the resemble the 80th
 4   percentile of UCR / FAIR Health in at least two ways: 1) with economic data and price data for the
 5   area, and 2) by showing that past payments from payers such as Cigna and others cannot reasonably
 6   be extrapolated to the rates produced by the Viant methodology.
 7          Further, Judge Gonzalez-Rogers addressed the arguments raised by MultiPlan on similar
 8   pleadings in LD addressing similar arguments holding as to the ‘plausability’ of Plaintiffs’
 9   allegations:
10          Here, plaintiffs allege that “Plaintiffs and the Class have been harmed, and are likely to
            be harmed in the future, by Defendants’ actions and are entitled to appropriate equitable
11          relief.” FAC ¶ 525; see also FAC ¶ 20 (“Without Court intervention, [defendants’]
12          scheme will continue and continue to cause damage.”). These allegations, which are not
            subject to the pleading standards of Iqbal and Twombly, are sufficient for the Court to
13          infer at this juncture that plaintiffs have standing to seek injunctive relief given that the
            nature of the harm is ongoing. See Maya v. Centex Corp., 658 F.3d 1060, 1067-68 (9th
14          Cir. 2011) (holding that Twombly and Iqbal do not apply when determining whether a
15          plaintiff has Article III standing, as “Twombly and Iqbal are ill-suited to application in
            the constitutional standing context because in determining whether plaintiff states a claim
16          under 12(b)(6), the court necessarily assesses the merits of plaintiff's case. But the
            threshold question of whether plaintiff has standing (and the court has jurisdiction) is
17
            distinct from the merits of his claim[.]”).
18
            LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *7 (N.D.
19          Cal. Dec. 18, 2020)
20
            Plaintiffs have plausibly alleged that someone in the chain of causation relied on United's
21          alleged misrepresentations. Plaintiffs allege that, “when Plaintiffs’ providers contacted
            United to verify out-of-network rates during the pre-admission VOB calls, United
22          routinely represented that rates were available at a UCR rate and never stated that the
            claims would be subject to repricing by MultiPlan through Viant.” FAC ¶¶ 430-31.
23
            Plaintiffs further allege that, based on these alleged representations by United to their
24          providers, they expected that their claims for IOP services would be reimbursed based
            on the UCR rate pursuant to their plans. Id. These allegations are sufficient to satisfy
25          RICO's proximate cause requirement. See Painters, 943 F.3d at 1260 (holding that “it is
26          sufficient to satisfy RICO's proximate cause requirement that Painters Fund alleged that
            prescribing physicians (also third parties, but not intervening causes) relied on
27          Defendants’ misrepresentations and omissions”).
28          Accordingly, the Court concludes that plaintiffs have RICO standing.


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 1     LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *11 (N.D.
       Cal. Dec. 18, 2020)
 2
 3     Defendants’ argument that this was merely a routine contractual relationship with a goal
       of cost-containment is premature. The Court does not rule on the merits but on the
 4     plausibility of the allegations. Here, the FAC raises a plausible inference that the
       contractual relationship between defendants was used as a cover for their scheme to profit
 5     from the fraud at plaintiffs’ expense. See, e.g., FAC ¶ 21 (alleging that the Viant database
 6     and pricing tool was intended to “provide the appearance of legitimacy and offer cover
       for the fraudulent underpayment of IOP claims”). This distinguishes the allegations here
 7     from the allegations in the cases upon which defendants rely.9 That a legitimate
       contractual relationship between the defendants exists does not undermine plaintiffs’
 8
       plausible allegations that defendants also engaged in an enterprise to defraud them and
 9     used the contractual relationship as a cover. See Painters, 943 F.3d at 1248 (“Although
       the RICO statute was originally enacted to combat organized crime, ‘it has become a tool
10     for everyday fraud cases brought against respected and legitimate enterprises.’ ”)
       (citation omitted).
11
12     Accordingly, the Court concludes that plaintiffs have plausibly alleged that defendants
       were engaged in an enterprise.
13
       LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *12–13
14
       (N.D. Cal. Dec. 18, 2020)
15
       MultiPlan argues that plaintiffs’ allegations that it participated in the alleged scheme are
16     conclusory and insufficient to state a claim under Section 1962(c). The Court disagrees.
17     MultiPlan fails to take into account the new allegations that plaintiffs added to the SAC in
       combination with the other allegations that are not new and that the Court analyzed in its
18     order of December 18, 2020. When construing all of plaintiffs’ allegations in the light
       most favorable to plaintiffs, as the Court must at this juncture, the averments contain
19     sufficient factual matter to satisfy Iqbqal's pleading requirements as to the claim at issue.
20
       LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2021 WL 930624, at *7 (N.D.
21     Cal. Mar. 11, 2021)
22     MultiPlan next contends that it cannot be liable under Section 1962(c) based on the “co-
23     schemer” theory of liability because its involvement in the alleged scheme to defraud
       plaintiffs began only after United allegedly had already made fraudulent
24     misrepresentations to plaintiffs’ provider during VOB calls. This argument is
       unconvincing, as it ignores that plaintiffs plausibly allege that the scope of the alleged
25     scheme encompassed the VOB calls in question, and that Multiplan participated in and
26     directed the scheme as a whole, not just certain portions of it. That Viant (MultiPlan's
       subsidiary) allegedly began to handle claims for IOP services only after United had
27     already made alleged misrepresentations during VOB calls does not alter the fact that
       plaintiffs plausibly allege that MultiPlan knowingly participated and directed the scheme
28
       which, again, encompassed the VOB calls in question as well as other conduct in


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 1           furtherance of the scheme that took place before and after Viant began to handle IOP
             claims.
 2
 3           LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2021 WL 930624, at *7 (N.D.
             Cal. Mar. 11, 2021)
 4
             As set out above, Plaintiffs’ allegations more than meet the ‘plausibility’ requirements for
 5
     purposes of pleading. Just as Judge
 6
             The FAC raises the inference that Cigna and MultiPlan each had some part in
 7           directing the alleged enterprise’s affairs. Plaintiffs aver that Cigna and MultiPlan
 8           collaborated to develop and use on an ongoing basis the Viant database and pricing tool
             to under-reimburse the IOP claims at issue, and that they did so for the purpose of
 9           advancing the enterprise’s goal of defrauding plaintiffs and profiting from the under-
             reimbursement of the IOP claims.
10
             (Dkt. 73, Pg. 20-21, Ln 22-1) (emphasis added)
11
             As such, Plaintiffs did not have any need to amend the allegations as to MultiPlan’s direction
12
     of the enterprise’s affairs.
13
             D. Plaintiffs Plausibly Allege the Existence of an Enterprise
14
             RICO is generally regarded as a broad statute and, indeed, RICO’s text “provides that its terms
15
     are to be “liberally construed to effectuate its remedial purposes.”’” Boyle v. United States, 556 U.S.
16
     938, 944 (2009), quoting Pub. L. No. § 904(a), 84 Stat. 922, 947 (1970). RICO’s breadth of language
17
     and construction is particularly evident in the enterprise concept. Boyle, 556 U.S. at 949. Included
18
     within the definition of enterprise is “any union or group of individuals associated in fact although
19
     not a legal entity.” 18 U.S.C. § 1961(4) (emphasis added). The Supreme Court has emphasized that
20
     the “term ‘any’ ensures that the definition has a wide reach and the very concept of an association in
21
     fact is expansive”) Boyle, 556 U.S. at 944 (internal citation omitted). Thus, an association-in-fact
22
     enterprise may be any group of persons associated together for a common purpose of engaging in a
23
     course of conduct. Boyle, 556 U.S. at 946. Multiplan raises many of the same arguments as those
24
     asserted by United (Dkt. 66) and Plaintiffs reincorporate the arguments asserted there as if fully set
25
     forth herein without repeating them here. Plaintiffs have amply set forth allegations showing far more
26
     than a mere commercial contract and a clear pattern of racketeering activity.
27
             Despite Multiplan’s assertion that “all of Multiplan’s actions are attributable to its
28
     performance under the Network Access Agreement with Cigna” (Def Mot. p 11), the presence or

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 1   absence of a commercial contract between Cigna and Multiplan is irrelevant. An association does not
 2   stop becoming an association because the relationships between its members are documented in a
 3   contract, nor does anything in the definition of enterprise insulate from liability those whose common
 4   purpose includes some legal activity. RICO’s definition of enterprise “include[s] both legitimate and
 5   illegitimate enterprises within its scope; it no more excludes criminal enterprises than it does
 6   legitimate ones.” Turkette, 452 U.S. at 580-81 (1981). See also, Sedima, S.P.R.L. v. Imrex Co., Inc.,
 7   473 U.S. 479, 499 (1985) (“Yet Congress wanted to reach both ‘legitimate’ and ‘illegitimate’
 8   enterprises. The former enjoy neither an inherent capacity for criminal activity nor immunity from its
 9   consequences.”) (internal citation omitted).
10          The enterprise between Cigna and Multiplan is the vehicle for the illegal, racketeering activity
11   of mail and wire fraud. Plaintiffs have alleged a solid basis for their belief that the rates paid to them
12   are a fraction of what they should be (FAC ¶¶125-167); they set forth the mechanics of the scheme
13   (FAC ¶¶168-203); the claims submission process (FAC ¶¶204-207); the purpose of the
14   underpayments (FAC ¶¶125-154); how Multiplan and Cigna utilized the distorted Viant methodology
15   of distorted databases and inappropriate “target” pricing ((FAC ¶¶215-241), and how all of this was
16   developed, implemented, and managed by the Defendants (FAC ¶¶242-268).
17          The FAC alleges a common unlawful purpose amongst the members of the enterprise to avoid
18   paying the required usual and customary reimbursement rates for the services in question. This
19   common purpose is achieved by manipulating reimbursement rates through a false and fraudulent
20   database. The fraudulent reimbursement rates are developed jointly by Multiplan and Cigna. Indeed,
21   the rates are what the Cigna has directed Multiplan to “target.” Defendants know that the rates they
22   are using are not based on objective, reliable data.
23          Had Plaintiffs here not been victimized by the RICO enterprise, they would not have had to
24   pay balance bills out of their own pockets (FAC ¶¶59, 281, 313, 343). Further, claims paid by Cigna
25   and priced by Viant/Multiplan were $1,600 less than what Cigna paid to Summit Estate when
26   claims were not processed through Viant and, instead, were priced by Zelis, a third-party repricer
27   not affiliated with MultiPlan (FAC ¶316). Thus, it is more than plausible that Defendants’ RICO
28   enterprise caused Plaintiffs to suffer large balance bills and damages. The surprise rates priced by


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 1   Viant were anything but a competitive fee.
 2          If the reimbursement rates were above-board, Defendants would not be paying several vastly
 3   different rates and claim them all to be MRC. Nor would a reliable pricing program produce wildly
 4   different reimbursements for the same services provided so close in time. Likewise, comparison of
 5   the reimbursement paid by Defendants against the FAIR Health Benchmark (FAC ¶¶155-167),
 6   confirms that Plaintiffs claims were grossly underpaid.
 7          A common purpose of making money does not insulate members of an enterprise from
 8   liability where their methods are illegitimate. The common purpose of making money by fraud is
 9   sufficient to find a RICO enterprise. See, for example, Cisneros v. Petland, Inc., 972 F.3d 1204, 1212
10   (11th Cir. 2020) (collecting cases). Weiner v. Ocwen Fin. Corp., 2015 WL 4599427, at *10 (E.D.
11   Cal. July 29, 2015). Because the complaint clearly alleges that the members of the enterprise stand to
12   gain sufficient financial benefits from their scheme to avoid paying Plaintiffs what they are owed,
13   Plaintiffs have properly alleged a “common purpose” for the purposes of RICO. Bias v. Wells Fargo
14   & Co., 942 F. Supp. 2d 915, 941 (N.D. Cal. 2013) (“Plaintiffs have also explicitly alleged that the
15   enterprise members, including the vendors and brokers, “devised a scheme to defraud borrowers and
16   obtain money from them by means of false pretenses.””)
17          1. Plaintiffs Have Alleged Racketeering Activity and Predicate Acts with Particularity
18          Rule 9(b) does not require a plaintiff to be omniscient or to provide every conceivable detail.
19   Rather, “[a] pleading is sufficient under Rule 9(b) if it identifies the circumstances constituting fraud
20   so that the defendant can prepare an adequate answer from the allegations.” Neubronner v. Milken, 6
21   F.3d 666, 671–72 (9th Cir. 1993) (internal quotations and citations omitted). Plaintiffs have met that
22   standard.
23          Plaintiffs have identified the predicate acts of racketeering activity: as to RJ & SJ FAC ¶¶270-
24   302, as to MW and LW FAC ¶¶303-333, as to DS FAC ¶¶ 334-339, as to RH FAC ¶¶ 340-358, the
25   fraudulent and deceptive Patient Advocacy Department (“PAD”) letters that crossed state lines (FAC
26   ¶¶359-378) and has alleged for each of the three Plaintiffs/patients that VOB calls took place took
27   place between the provider, Summit Estate, and Cigna prior to be admitted to treatment and that
28   claims would be paid based on a percentile of UCR (FAC ¶¶278, 310, 340). In LD, the court held that


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 1   the VOB communications prior to receiving treatment satisfied the reliance requirement. LD at *3
 2   citing Bridge, 553 U.S. at 658. The LD court continued:
 3          Although plaintiffs have not averred any other details of these VOB calls, such as the names
 4   of the persons who participated in such calls or the dates of the calls, the Court finds that plaintiffs
 5   have alleged sufficient factual matter as to the circumstances constituting fraud so that United
 6   “can prepare an adequate answer from the allegations.” Schreiber Distrib. Co. v. Serv-Well
 7   Furniture Co., 806 F.2d 1393, 1400 (9th Cir. 1986) (citation and internal quotation marks omitted).
 8   Accordingly, plaintiffs have satisfied the element of pattern of racketeering with respect to United.
 9   LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *14 (N.D. Cal. Dec.
10   18, 2020)
11          Defendant’s attempts to distinguish LD fail and Plaintiffs have sufficiently alleged multiple
12   predicate acts of racketeering that constitute a pattern of racketeering activity.
13            2.    Plaintiffs Have Alleged RICO Standing and Proximate Causation
14          The mail and wire fraud statutes protect property rights. See, generally, Kelly v. United States,
15   140 S. Ct. 1565, 206 L. Ed. 2d 882 (2020); McNally v. United States, 483 U.S. 350, 356 (1987).
16   Plaintiffs’ right to be paid for the unnecessary out-of-pocket expenses they incurred is a property
17   right. See Reiter v. Sonotone Corp., 442 U.S. 330, 338 (1979) (“Money, of course, is a form of
18   property”). Just as this Court found that a consumer who has been overcharged can claim injury to
19   property under RICO based on a wrongful deprivation of money, see Bias v. Wells Fargo & Co., 942
20   F. Supp. 2d 915, 936 (N.D. Cal. 2013), unwarranted, out-of-pocket, expenses likewise constitute the
21   wrongful deprivation of money. Plaintiffs do not assert that their plans absolve them from all out-of-
22   pocket expenses; instead, Plaintiffs seek to recover those out-of-pocket expenses that were incurred
23   as the direct and consequential result of Defendants’ underpayment of their claims. Further, the
24   incurring of debt as a direct consequence of racketeering activity also constitutes a direct, RICO
25   injury. See, for example, Rodriguez v. McKinney, 878 F. Supp. 744, 748 (E.D. Pa. 1995) (“In
26   assuming liability for tuition debts, plaintiffs experienced an immediate, cognizable injury.”
27   [collecting cases]).
28


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 1          Plaintiffs’ property is the object of the Defendants’ scheme to defraud. Pasquantino, 544 U.S.
 2   at 355. Cigna has joined together with Multiplan to reproduce the Ingenix scheme that led Cigna to
 3   pay $400 million in settlements in 2009. They have joined together to interpose false and fraudulent
 4   data as an excuse to avoid paying their obligations to Plaintiffs and others in full to their direct
 5   financial benefit. (FAC ¶¶ 111-137). As set forth below, this scheme meets all of RICO’s
 6   requirements.
 7          It has long been the law that “[i]f the scheme or artifice in its necessary consequence is one
 8   which is calculated to injure another, to deprive him of his property wrongfully, then it is to defraud
 9   within the meaning of the statute.” Horman v. United States, 116 F. 350, 352-53 (6th Cir. 1902).
10   Every claim at issue has been adjudicated medically necessary and allowed as payable by the Cigna.
11   (FAC¶ 1-2, 6, 21, 29, 53-56). What is at issue is not the Plaintiffs’ right to have their claims paid; but
12   rather, Plaintiffs have incurred unnecessary out-of-pocket expenses and seek to recover those as the
13   direct result of Cigna’s underpayments.
14          Cigna’s statement that, “Plaintiffs cannot plausibly plead reliance on VOB calls. This is an
15   issue that the defendants in LD did not appear to raise, so the LD court did consider, but it is
16   dispositive” (Def. Mot. p. 10) is contradicted by the LD court’s holding. The court held:
17          That plaintiffs do not allege first-party reliance does not alter this conclusion.
            “[T]he Supreme Court has explained that if there is a direct relationship between a
18          defendant's wrongful conduct and a plaintiff's alleged injury, a RICO plaintiff who did
19          not directly rely on the defendant's omission or misrepresentation can still satisfy the
            requirement of proximate causation of damages,” because “a person may be injured
20          ‘by reason of’ another person's fraud even if the injured party did not rely on any
            misrepresentation.” Painters, 943 F.3d at 1259 (quoting Bridge, 553 U.S. at 648-49,
21          128 S.Ct. 2131). “All that is required of [a plaintiff] at th[e pleading] stage is to
22          allege that someone in the chain of causation relied on Defendants’ alleged
            misrepresentations[.]” Id. at 1260.
23
            LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *11 (N.D. Cal.
24
            Dec. 18, 2020) (emphasis added).
25
            Defendant’s citation to the out-of-circuit, unpublished Taylor Grp. v. ANR Storage Co., 24 F.
26
     App'x 319 (6th Cir. 2001) ignores the LD holding above and controlling precedent set out therein of
27
     the Ninth Circuit’s decision in Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda
28


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 1   Pharms. Co. Ltd., 943 F.3d 1243 (9th Cir. 2019) and the Supreme Court’s decision in Bridge v.
 2   Phoenix Bond & Indem. Co., 553 U.S. 639 (2008). The LD court continued:
 3          Plaintiffs have plausibly alleged that someone in the chain of causation relied on
            United's alleged misrepresentations. Plaintiffs allege that, “when Plaintiffs’ providers
 4          contacted United to verify out-of-network rates during the pre-admission VOB calls,
 5          United routinely represented that rates were available at a UCR rate and never stated
            that the claims would be subject to repricing by MultiPlan through Viant.” FAC ¶¶ 430-
 6          31. Plaintiffs further allege that, based on these alleged representations by United to
            their providers, they expected that their claims for IOP services would be reimbursed
 7          based on the UCR rate pursuant to their plans. Id. These allegations are sufficient to
 8          satisfy RICO’s proximate cause requirement. See Painters, 943 F.3d at 1260 (holding
            that “it is sufficient to satisfy RICO's proximate cause requirement that Painters
 9          Fund alleged that prescribing physicians (also third parties, but not intervening
            causes) relied on Defendants’ misrepresentations and omissions”).
10
11          Accordingly, the Court concludes that plaintiffs have RICO standing.

12          LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2020 WL 7432566, at *11–12
            (N.D. Cal. Dec. 18, 2020) (emphasis added).
13
14          In their complaint, Plaintiffs have alleged the following, consistent with the allegations that

15   the LD court found sufficient:

16          Cigna intentionally led Plaintiffs and the Class as well as their treating providers and
            plans to believe that rates were determined based on a UCR rate. As alleged above, when
17          Plaintiffs’ providers contacted Cigna to verify out-of-network rates during the pre-
            admission VOB calls, Cigna routinely represented that rates were available at a UCR rate
18
            and never stated that the claims would be subject to repricing by MultiPlan through Viant.
19          (FAC ¶¶397-8)

20          The LD court’s following, March 11, 2021 order reaffirmed the above and held:
21          In its order of December 18, 2020, the Court held that plaintiffs had sufficiently
22          alleged the requisite third-party reliance on United's alleged misrepresentations to
            satisfy the requirement of proximate cause to state a claim under RICO. Docket No.
23          73 at 18-19. Accordingly, the Court need not revisit this issue in determining the present
            motion to dismiss notwithstanding MultiPlan's argument that plaintiffs have not alleged
24          facts to satisfy the proximate cause requirement for stating a RICO claim by showing
25          reliance on alleged misrepresentations. As will be discussed below, MultiPlan can be
            held liable for United's alleged misrepresentations upon which plaintiffs’ provider
26          relied.
27          LD v. United Behav. Health, No. 4:20-CV-02254 YGR, 2021 WL 930624, at *5 fn7
28          (N.D. Cal. Mar. 11, 2021) (emphasis added).



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 1          As such, and for the same reasons set forth above, Plaintiffs have satisfied RICO’s
 2   proximate cause requirement.
 3          Multiplan’s argument that Plaintiffs have not suffered an injury and their citations to
 4   Gilbert v. Bank of America, 2014 WL 12644028, *4 (N.D. Cal. Sept. 23, 2014) and Diaz v.
 5   Gates, 420 F.3d 897, 900 (9th Cir. 2005) and that “it is not enough for Plaintiffs to simply assert
 6   that they overpaid for services; instead, they are required to plead a causal link between an
 7   alleged injury to business or property and Multiplan’s alleged predicate acts of racketeering —
 8   i.e., the PAD letters — which they have totally failed to do” (Dkt. 65 Pg. 13-14) fundamentally
 9   misrepresents the FAC and the proximate cause required by RICO.
10          Defendants’ challenge to proximate causation rest on the assumption that reliance is
11   required in all mail and wire fraud cases. That assumption is incorrect and specifically refuted
12   by the Supreme Court. Bridge held that reliance is (1) not an element of mail fraud itself, 553
13   U.S. at 648-50, (2) not an element of 18 U.S.C. § 1962(c), id., (3) and is not required by 18
14   U.S.C. § 1964(c). Id. at 654-58. Simply put, if a plaintiff’s injuries are directly caused by the
15   violator, its conduct cannot be barred from recovery by a reliance requirement that is not to be
16   found in the mail or wire fraud statutes or in RICO itself.
17          Bridge unequivocally holds that directness does not contain within it a requirement of
18   reliance: “the mere fact that the predicate acts underlying a particular RICO violation happen to
19   be fraud offenses does not mean that reliance, an element of common-law fraud, is also
20   incorporated as an element of a civil RICO claim.” 553 U.S. at 653, quoting Anza, 547 U.S. at
21   476 (Thomas, J. concurring in part and dissenting in part). Removing any doubt, Bridge specifies
22   that “One can conduct the affairs of a qualifying enterprise through a pattern of . . . [racketeering
23   activity indictable as mail fraud] without anyone relying on a fraudulent misrepresentation.”
24   Bridge, 553 U.S. at 649. In other words, while reliance may serve as a proxy for legal and factual
25   causation, it is not a condition of their existence. 553 U.S. at 649 (“one can conduct the affairs
26   of a qualifying enterprise through a pattern of such acts without anyone relying on a fraudulent
27   misrepresentation.”). “For RICO purposes, reliance and proximate cause remain distinct—if
28   frequently overlapping—concepts. While reliance is ‘often used to prove . . . the element of


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 1   causation,’ that does not mean it is the only way to do so.” Wallace v. Midwest Fin. & Mortg.
 2   Servs., Inc., 714 F.3d 414, 420 (6th Cir. 2013) (internal quotations omitted). Or, as Bridge put
 3   it, “the fact that proof of reliance is often used to prove an element of the plaintiff’s cause of
 4   action, such as the element of causation, does not transform reliance itself into an element of the
 5   cause of action.” 553 U.S. at 659 (citation omitted). The unavoidable conclusion is that reliance
 6   does not matter if facts plausibly showing direct injury are alleged. See also, Wallace, 714 F.3d
 7   at 420 (“A plaintiff need only show use of the mail in furtherance of a scheme to defraud and an
 8   injury proximately caused by that scheme.”). Plaintiffs have done so here.
 9          As in Bridge, Plaintiffs’ injuries are “a foreseeable and natural consequence” of
10   Defendants’ scheme. 553 U.S. at 658. And, as in Bridge, there are no independent factors that
11   could account for plaintiffs’ injury and no risk of duplicative recoveries by plaintiffs removed at
12   different levels of injury from the violation. Because none of the harm for which Plaintiffs seek
13   to recover was first visited upon a third person, their claims do not require the court to go beyond
14   the first step in regard to damages. Similarly, there are no more immediate victims who are better
15   situated or motivated to sue than Plaintiffs. Because no one other than Plaintiffs is entitled to
16   claim reimbursement for that underpaid care, no one else has a better incentive to vindicate the
17   law as a private attorney general. Bridge, 553 U.S. at 658.
18          This Court in a prior RICO action stated, “[a] consumer who has been overcharged can
19   claim injury to property under RICO based on a wrongful deprivation of money, which is a form
20   of property.” Bias v. Wells Fargo & Co., 942 F. Supp. 2d 915, 936 (N.D. Cal. 2013). The same
21   rationale applies to Plaintiffs who were wrongfully deprived of money when they incurred out-
22   of-pocket expenses that were the direct and consequential results of United’s illegal
23   underpayment.
24          E. Plaintiffs Have Appropriately Pled Their Claims For Equitable Relief.
25          Multiplan also seeks dismissal of Plaintiffs’ ERISA §502(a)(3) cause of action, for its
26   violations of fiduciary duties of loyalty and due care, and request for declaratory and injunctive relief.
27   (Multiplan mistakenly refers to this as the seventh cause of action, when in fact it is the sixth cause
28   of action in Plaintiff’s First Amended Complaint, Doc. No. 63.).


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 1           Multiplan’s attack on Plaintiffs’ ERISA cause of action rehashes issues already rejected in the
 2   Court’s prior Order Granting in Part and Denying in part Defendants’ motion to Dismiss (Doc. No.
 3   60). For example, Multiplan concedes that its alleged role in the overall underpayment scheme makes
 4   it an ERISA fiduciary, but again contends there is no underlying breach of its fiduciary duties. The
 5   Court already rejected this position. See Doc. No. 60, p.11 ll. 12-14 (rejecting Viant’s position that
 6   “the complaint fails to plead facts to establish . . . any underlying breach of fiduciary duties). There
 7   is nothing in the First Amended Complaint that impacts the analysis on Multiplan’s alleged fiduciary
 8   duty breaches. To the contrary, as discussed, supra, the FAC provides substantially more detail
 9   concerning Multiplan’s participation, along with CIGNA, in the alleged scheme to underpay valid,
10   medically necessary mental health claims.
11           To be clear, Plaintiff’s First Amended Complaint again alleges Multiplan’s fiduciary status,
12   its discretionary actions, and its control over plan assets. See, e.g. FAC, Doc. No. 63, ¶¶483-487.
13   There is nothing in the First Amended Complaint that impacts the analysis on Multiplan’s alleged
14   fiduciary duty breaches. To the contrary, as discussed, supra, the FAC provides substantially more
15   detail concerning Multiplan’s participation, along with CIGNA, in the alleged scheme to underpay
16   valid, medically necessary mental health claims. Indeed, Plaintiff need not allege that Viant was a
17   named fiduciary, since this Court has already confirmed that it was acting in a fiduciary capacity.
18   Viant’s related contention, that it will prove it was not really acting as a fiduciary, is of course an
19   issue for later in this litigation.
20           Multiplan also attacks—again—Plaintiffs’ prayer for relief. Multiplan accuses Plaintiffs of
21   seeking monetary relief thinly disguised as equitable relief. As countless courts have determined,
22   this position has no support under ERISA. Section 1132(a)(3) states, “[a] civil action may be brought
23   ... by a participant, beneficiary, or fiduciary (A) to enjoin any act or practice which violates any
24   provision of this subchapter or the terms of the plan, or (B) to obtain other appropriate equitable relief
25   (i) to redress such violations or (ii) to enforce any provisions of this subchapter or the terms of the
26   plan.” To the extent Plaintiffs bring a cause of action against Cigna under ERISA §1132(a)(1)(B),
27   and, separately against Multiplan under ERISA §1132(a)(3), the Ninth Circuit has recognized that a
28   claim for benefits under Section 1132(a)(1)(B) and a claim for equitable relief under Section


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 1   1132(a)(3) “can proceed simultaneously if they plead distinct remedies.” Moyle v. Liberty Mut.
 2   Retirement Benefit Plan, 823 F.3d 948, 961 (9th Cir. 2016). Plaintiffs herein reject the position that
 3   they are seeking the same forms of relief, and the Court need look no further than the seventeen
 4   different types of relief sought in this putative class action to understand the vacuity of Multiplan’s
 5   position.   This includes a declaration that “Multiplan’s benefit determination and negotiation
 6   methodologies are improper.” Doc. 63, p. 72, ll. 11-12.
 7           The relief Plaintiffs seek in their (a)(3) claims differs from that sought in their (a)(1)(B) claims
 8   on other bases. For example, Plaintiffs seek to enjoin Cigna and Multiplan from continuing to engage
 9   in the practice of repricing and grossly underpaying for out of network behavioral health care, in
10   violation of the terms of the Plans. Id. at ll. 7-8.2
11           To the extent Multiplan either has contended or continues to assert that the monies it paid out
12   were in any way competitive with what is usual and customary for the specific geographic region at
13   issue, Plaintiffs seek a reformation of the allegedly supporting Plan term(s). In Cigna Corp. v. Amara,
14   563 U.S. 421 (2011), the Court held that ERISA § 502(a)(3) offered equitable relief in the form of
15   plan reformation, even though the plaintiffs therein also claimed benefit relief under § 502(a)(1)(B).
16           The Amara plaintiffs advanced simultaneous claims under (a)(1)(B) for benefits, and for
17   reformation of the plan terms under (a)(3). The Court held that plan reformation was available to the
18   Amara plaintiffs under (a)(3) as an equitable remedy, and that “once the plan was reformed under §
19   [502](a)(3) to reflect the terms of the old plan, it could be enforced under § [502](a)(1)(B).” The
20   Court in Amara also held that the “appropriate equitable relief” available under § 502(a)(3) refers to
21   “those categories of relief that, traditionally speaking (i.e., prior to the merger of law and equity)
22   ‘were typically available in equity.’” Amara at 439. The Court held that “affirmative and negative
23   injunctions obviously fall within [the category of equitable relief.]” Id. at 440.
24           Plaintiffs also seek an order requiring Cigna and Multiplan to reprocess the claims they
25   illegally underpaid and to provide transparency as to any methodology they apply to the reprocessing
26
27   2
       Multiplan somehow contends that Plaintiffs do not allege how it damaged them. Plaintiffs FAC is
     replete with allegations describing how “conflicted middlemen” like Multiplan profit from “scam”
28   fee structures, leaving individual plan members “stuck with balance bills.” FAC, Doc. 63, ¶21. See
     also, e.g., FAC, ¶¶ 8, 10, 14, 126-133, 180-203.

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 1   of those claims. See FAC, Doc. No. 63, p.75. Finally, Plaintiffs seek an award of surcharge and
 2   disgorgement of ill-gotten profits from Multiplan and Cigna resulting from the improper claims
 3   repricing. Id. These latter remedies are unquestionably distinct from monetary damages that could
 4   also be available under other ERISA sections—and are just as unquestionably proper. The Ninth
 5   Circuit holding Moyle, supra, in 2016 adopted the Eight Circuit’s reading of Amara, which “permits
 6   plaintiffs to present § [502](a)(1)(B) and § [502](a)(3) as alternative — rather than duplicative —
 7   theories of liability.” The court held that “[t]his approach is an accurate application of Amara in light
 8   of Varity because it allows plaintiffs to plead alternate theories of relief without obtaining double
 9   recoveries.” Id. at 961.
10          Moreover, this is the pleadings stage of this litigation, and it is entirely possible that Plaintiffs
11   will seek additional forms of relief, potentially monetary and non-monetary, once more facts
12   underlying the alleged unlawful scheme at issue herein are uncovered. Indeed, the court in Moyle
13   noted that this reading was not only consistent with Amara and Varity, but also the Federal Rules of
14   Civil Procedure, which require that “[a] pleading that states a claim for relief must contain ... a
15   demand for the relief sought, which may include relief in the alternative or different types of relief.”
16   Fed. R. Civ. P. 8(a)(3) (emphasis added). Moreover, the Court held that “allowing plaintiffs to seek
17   relief under both § [502](a)(1)(B) and § [502](a)(3) is consistent with ERISA’s intended purpose of
18   protecting participants’ and beneficiaries’ interests.” Id. at 962.
19          Berman v. Microchip Technology Inc., 2018 WL 732667 (N.D.Cal. Feb. 28, 2018) supports
20   Plaintiffs’ position because that court affirmed simultaneous claims under ERISA §§502(a)1)(B) and
21   (a)(3). That court also affirmed that the plaintiffs did state claims for injunctive relief, surcharge, and
22   equitable estoppel. To the extent that Court rejected as duplicative the plaintiffs’ request for
23   injunctive relief in the form of “continuing to deny Plan benefits to eligible employees” this issue is
24   not dispositive herein. For example, as stated elsewhere in this Opposition, Plaintiffs seek multiple
25   forms of declaratory relief, including declarations that the health care payments at issue herein were
26   improper underpayments and that Cigna and Multiplan’s payment methodologies were and are
27   improper." FAC, supra, at p. 75. Plaintiffs also seek an order that Cigna reprocess all underpaid
28   claims using an appropriate methodology. Id.


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 1          Herzfeld v. Teva Pharmaceuticals USA, Inc. Omnimbus Welfare Plan, 2020 WL 1864851
 2   (C.D. Cal. Apr. 14, 2020) is not determinative. That action involved the denial of a medical device
 3   to treat elbows and wrists, called a MyoPro. The insured requested an external review, which upheld
 4   the denial. The plaintiff sued the third-party external reviewer, and it was in this context that fiduciary
 5   status and standing issues arose. The court held that the third-party reviewer exercised discretionary
 6   authority over the plan or its assets and therefore was acting as a fiduciary. This conclusion is
 7   consistent with the Court’s prior determination that Multiplan was an ERISA fiduciary in its treatment
 8   / payment of Plaintiffs’ claims. To the extent that the court in Herzfeld concluded that the plaintiff
 9   failed to provide specificity regarding how the third-party reviewer participated in the claim denial,
10   Plaintiff’s detailed, 72-page complaint sets forth in substantial detail Multiplan’s role in the
11   underpayment scheme herein at issue.
12          In re Computer Science Corp. ERISA Litigation, 635 F.Supp.2d 1128 (C.D. Cal. July 13,
13   2009) is inapposite for the simple reason that it involved a summary judgment motion, not a motion
14   to dismiss. That court engaged in a factual analysis to determine the damage caused by the defendant’s
15   alleged misrepresentations. If Plaintiffs’ allegations herein are accepted as true, there is no question
16   regarding the harm caused by Multiplan and Cigna. By the time motions for summary judgment are
17   at issue, Plaintiffs will be able to provide evidence supporting these allegations.
18          As a backup position, Multiplan contends that Plaintiffs’ (a)(3) claims should be dismissed
19   because they lack standing and do not allege any facts to support a “real and immediate” threat of
20   future injury.” Doc. 76 at p. 19, l. 17. Such arguments have no basis in the law. First, to the extent
21   that certain Plaintiffs are still employed and are still covered participants under the respective Plans,
22   they are either still in recovery and actively receiving outpatient services now and for the foreseeable
23   future or are continually at risk of relapse. Relapse is, regrettably, a common experience in the course
24   of substance use recovery, making high likely that at least some Plaintiffs will require IOP treatment
25   in the future. Second, ERISA does not require that relief sought under (a)(3) be solely prospective in
26   nature. Plaintiffs seek both prospective and retrospective relief in connection with their (a)(3) claims.
27          The Supreme Court decision in Thole v. U.S. Bank, N.A., 140 Sup. Ct. 1615 (2020), relied on
28   by Defendant, is inapposite. Thole involved defined-benefit pension benefits that the plaintiffs were


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 1   entitled to and were in fact receiving. The plaintiffs alleged that the pension assets were poorly
 2   invested, resulting is a substantial loss to the plan as a whole. The court found no Article III standing
 3   on the basis that the plaintiffs were still receiving their pensions, would continue to receive their
 4   benefits, and that the benefits would remain unchanged regardless of any alleged fund
 5   mismanagement.
 6          Here the situation is entirely different. Defendants’ intentional, and substantial claims
 7   underpayment left Plaintiffs and putative class members either thousands of dollars out-of-pocket, or
 8   with thousands of dollars of unpaid bills. This is precisely the type of “concrete, particularized, and
 9   actual or imminent” injury in fact that was lacking in Thole. 140 S.Ct. at p. 1618. For the same
10   reason, Defendant’s reliance on City of Los Angeles v. Lyons, 461 U.S. 95 (1983) does not support
11   Defendant’s position.
12          In sum, Multiplan’s attack on Plaintiffs’ standing fails.
13          Conclusion
14          By reason of the foregoing, it is respectfully submitted that the motion to dismiss should be
15   denied. If the court is inclined to sustain any part of the motion, Plaintiffs respectfully request leave
16   to cure any deficiencies and amend the pleading.
17          Respectfully Submitted,
18
19          Dated: June 30, 2021                      NAPOLI SHKOLNIK PLLC
20                                                              /s/ Matthew M. Lavin
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23                                                              /s/ David M. Lilienstein
                                                               David M. Lilienstein
24                                                             Katie J. Spielman
25
                                                               Attorneys for Plaintiffs
26                                                             And the Putative Class
27
28


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